                           EXHIBIT H




Case 20-04002-MJH   Doc 73-16   Filed 11/13/20   Ent. 11/13/20 21:51:27   Pg. 1 of 9
DocuSign Envelope ID: 36C5EA80-B769-4584-9C3D-2308BFFFCBBD




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       7                            IN THE U.S. BANKRUPTCY COURT FOR THE
                                 WESTERN DISTRICT OF WASHINGTON AT SEATTLE
       8

       9    In re                                                    Case No. 19-42890-MJH
      10    SARAH HOOVER,                                            Adv No. 20-04002-MJH
      11
                                                             Debtor. Chapter 13
      12
                                                                     IH6 PROPERTY WASHINGTON, LP’S
      13    SARAH HOOVER,                                            RESPONSE TO PLAINTIFF’S FIRST SET
                                                      Plaintiff,     OF INTERROGATORIES AND
      14    v.                                                       REQUESTS FOR PRODUCTION
      15
            QUALITY LOAN SERVICE CORPORATION
      16    OF WASHINGTON, PHH MORTAGE
            CORPORATION DBA PHH MORTGAGE
      17    SERVICES, HSBC BANK USA, NA as Trustee
            of the Fieldstone Mortgage investment Trust,
      18    Series 2006-2; NEWREZ, LLC, IH6
      19    PROPERTY WASHINGTON, LP, DBA
            INVITATION HOMES,
      20
                                                      Defendants.
      21
                     Defendant IH6 Property Washington, LP (“IH6”) submits the following objections and
      22

      23    responses to Plaintiff’s First set of Interrogatories and Requests for Production.

      24                                               General Objections
      25             IH6 makes the following general objections, each of which is incorporated into IH6’s
      26
            specific objections below.
      27

            DEFENDANT IH6 PROPERTY’S RESPONSES TO         SCHWEET LINDE & COULSON, PLLC
            FIRST SET OF INTERROGATORIES AND REQUESTS              575 S. MICHIGAN ST.
                                                                   SEATTLE, WA 98108
            FOR PRODUCTION - 1                                        (206) 275-1010 Pg. 2 of 9
            Case 20-04002-MJH Doc 73-16 Filed 11/13/20 Ent. 11/13/20P 21:51:27
DocuSign Envelope ID: 36C5EA80-B769-4584-9C3D-2308BFFFCBBD




                     1.      IH6 objects to the Requests to the extent they seek to impose obligations on IH6
       1

       2    beyond those otherwise imposed or recognized under the Civil Rules and local rules.

       3             2.      By responding to the Requests, IH6 does not admit that discovery requested—or

       4    provided and produced—are relevant to the subject matter of this litigation or reasonably
       5
            calculated to lead to the discovery of admissible evidence.
       6
                     3.      IH6 objects to the Requests to the extent they seek production of information of
       7
            documents that are protected from disclosure or otherwise covered by or under the attorney-
       8
            client privilege, the work-product doctrine or any other applicable privilege, immunity or
       9

      10    protection.    IH6 hereby asserts all such privileges, immunities, and protections and such

      11    documents will not be produced.
      12             4.      IH6 objects to the Requests to the extent they are vague, overbroad, unduly
      13
            burdensome or otherwise seek information or documents that are neither relevant to this action
      14
            nor reasonably calculated to lead to the discovery of admissible evidence. IH6 objects to the
      15
            Requests to the extent they seek information or evidence already in the knowledge, possession,
      16

      17    custody or control of Plaintiff or its agents, are otherwise equally accessible to Plaintiff, and/or

      18    are already being obtained from other sources.

      19             5.      IH6 objects to the Requests to the extent that they seek to impose upon IH6 the
      20    burden and expense of investigating, identifying or verifying information that Plaintiff has
      21
            equally ability to investigate, identify or verify on its own.
      22
                     6.      IH6 objects to the Requests to the extent that they would require IH6 to search for
      23
            and provide information and documents that are not in IH6’s possession, custody, or control, or
      24

      25    call for IH6’s to prepare documents and/or things that do not already exist.

      26

      27

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            FIRST SET OF INTERROGATORIES AND REQUESTS              575 S. MICHIGAN ST.
                                                                   SEATTLE, WA 98108
            FOR PRODUCTION - 2                                        (206) 275-1010 Pg. 3 of 9
            Case 20-04002-MJH Doc 73-16 Filed 11/13/20 Ent. 11/13/20P 21:51:27
DocuSign Envelope ID: 36C5EA80-B769-4584-9C3D-2308BFFFCBBD




                     7.      IH6 objects to the Requests to the extent they seek information and/or documents
       1

       2    not reasonably limited in time or duration.

       3             8.      IH6 objects to any explicit or implicit characterization of facts, events,

       4    circumstances, issues or legal conclusions in the Requests.
       5
                     9.      IH6’s answers are based on its knowledge and investigation to date and will be
       6
            supplemented or amended if necessary or appropriate.            No objection made herein, or lack
       7
            thereof, shall be deemed an admission by IH6 as to the existence or nonexistence of any
       8
            requested information. IH6 reserves the right to amend, revise, correct, add to or clarify the
       9

      10    objections and responses set forth herein.

      11             10.     Subject to and without waiver of the foregoing General Objections, each of which
      12    is hereby incorporated into each of the responses below, whether or not repeated for emphasis,
      13
            IH6 states the following additional Specific Objections and Responses, tracking the numerical
      14
            order set forth in the Requests.
      15
                                                       Specific Responses
      16

      17             Interrogatory No. 1. Identify the person(s) who answered or participated in answering

      18    each of these interrogatories. Include the position held by the respondent for IH6, including the

      19    length of time the respondent has held this position, the duties performed for IH6, and the
      20    reasons why this individual or individuals is qualified to respond to these interrogatories.
      21
                     Answer: Michael Lappano, Sr. Regional Director of Acquisitions for Invitation Homes.
      22
            Mr. Lappano has been a Director of Acquisitions since October of 2012 and is familiar with
      23
            IH6’s purchase of the Property.
      24

      25             Jaqueline Rumens, Portfolio Operations Director. Ms. Rumens has been employed with

      26    Invitation Homes since 2013 and emailed Ms. Hoover regarding renting the Property post-sale.

      27

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            FIRST SET OF INTERROGATORIES AND REQUESTS              575 S. MICHIGAN ST.
                                                                   SEATTLE, WA 98108
            FOR PRODUCTION - 3                                        (206) 275-1010 Pg. 4 of 9
            Case 20-04002-MJH Doc 73-16 Filed 11/13/20 Ent. 11/13/20P 21:51:27
DocuSign Envelope ID: 36C5EA80-B769-4584-9C3D-2308BFFFCBBD




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       2             Interrogatory No. 2: Identify the dates of communication IH6 had with Sarah Hoover

       3    after September 13, 2019.

       4             Answer: IH6 objects to this request because it is vague and seeks information already
       5
            available to Plaintiff Sarah Hoover. Without waiving its objection, IH6 directs Plaintiff to IH6
       6
            production Bates 001-026.
       7
                     Interrogatory No. 3: Identify the dates of communications IH6 had with Defendant QLS
       8
            concerning the Property after September 13, 2019.
       9

      10             Answer:     IH6 objects to this request because it is vague, overly broad, unduly

      11    burdensome, and seeks privileged communications. Without waiving its objection, IH6 directs
      12    Plaintiff to QLS’s response to Interrogatory No. 13 and its document production.
      13
                     Interrogatory No. 4: Identify the dates of communication IH6 had with Defendant PHH
      14
            concerning the Property and/or Plaintiff after September 13, 2019.
      15
                     Answer: IH6 objects to this request because it is overly broad, vague as to “documents”,
      16

      17    not reasonably limited in time or subject matter, not reasonably calculated to lead to discoverable

      18    information, and overly burdensome. Without waiving its objections, IH6 is not aware of any

      19    communications with PHH before the date IH6’s motion to reopen was filed.
      20             Interrogatory No. 5: Identify the number of properties IH6 has purchased at Washington
      21
            State foreclosure sales in 2019.
      22
                     Answer: IH6 objects to this Interrogatory because it is vague and/or ambiguous as to the
      23
            term “purchased” and “foreclosure sales”. IH6 also objects because the Interrogatory is overly
      24

      25    burdensome, requests information that is outside the scope of discovery, and requests

      26

      27

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            FIRST SET OF INTERROGATORIES AND REQUESTS              575 S. MICHIGAN ST.
                                                                   SEATTLE, WA 98108
            FOR PRODUCTION - 4                                        (206) 275-1010 Pg. 5 of 9
            Case 20-04002-MJH Doc 73-16 Filed 11/13/20 Ent. 11/13/20P 21:51:27
DocuSign Envelope ID: 36C5EA80-B769-4584-9C3D-2308BFFFCBBD




            information that is not readily ascertainable. Without waiving its objection, IH6 responds that it
       1

       2    purchased 14 properties in nonjudicial foreclosure sales in Washington in 2019.

       3             Interrogatory No. 6: Identify the number of properties IH6 has purchased at Washington

       4    State foreclosure sales year to date in 2020.
       5
                     Answer: IH6 objects to this Interrogatory because it is vague and/or ambiguous as to the
       6
            term “purchased” and “foreclosure sales”. IH6 also objects because the Interrogatory is overly
       7
            burdensome, requests information that is outside the scope of discovery, and requests
       8
            information that is not readily ascertainable. Without waiving its objection, IH6 answers that it
       9

      10    has not purchased any properties at a foreclosure sale in Washington in 2020.

      11             Interrogatory No. 7: Identify any actions IH6 took after learning about the bankruptcy
      12    filed by Sarah Hoover.
      13
                     Answer: IH6 objects to this Interrogatory because it is vague as to what “any action”
      14
            means, it is overly broad, outside the scope of discoverable information, and overly burdensome
      15
            to list every action IH6 took after learning about the bankruptcy filed by Sarah Hoover.
      16

      17             Interrogatory No. 8: State the name(s) and address(es) of Your liability insurer(s) for the

      18    last three years and the dates of coverage, type, and policy number(s) of each liability insurance

      19    policy, and Identify and Describe each claim made in the last two years under each such policy,
      20    including the date of claim, claim number, the subject of the claim, the status of the claim, the
      21
            resolution of the claim, and any amount paid under each policy.
      22
                     Answer: IH6 objects to this Interrogatory on the grounds that it is overly broad, vague
      23
            and ambiguous; it is not reasonably limited in scope by time or subject matter; and it seeks
      24

      25    information not within the scope of discovery. Without waiving its objections, IH6 responds that

      26    it does not have an insurance policy that would be liable for a judgment entered in this matter.

      27

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            FIRST SET OF INTERROGATORIES AND REQUESTS              575 S. MICHIGAN ST.
                                                                   SEATTLE, WA 98108
            FOR PRODUCTION - 5                                        (206) 275-1010 Pg. 6 of 9
            Case 20-04002-MJH Doc 73-16 Filed 11/13/20 Ent. 11/13/20P 21:51:27
DocuSign Envelope ID: 36C5EA80-B769-4584-9C3D-2308BFFFCBBD




                     Interrogatory No. 9: From 2018-present, identify any other properties you purchased
       1

       2    where the sale was rescinded. In your answer, identify the reasons for the rescission.

       3             Answer: IH6 objects to this Interrogatory because it is vague as to what is meant by

       4    “rescinded.”     IH6 also objects because the Interrogatory is overly burdensome, requests
       5
            information that is outside the scope of discovery, and requests information that is not readily
       6
            ascertainable with the records. Without waiving its objections, IH6 is not aware of any trustee’s
       7
            deeds that have been rescinded for any property it has purchased at a nonjudicial foreclosure sale
       8
            from 2018-present.
       9

      10             Request for Production No. 1: Produce all documents in your files that memorialize,

      11    document, or contain communications regarding the Property up until the date you filed a motion
      12    to reopen Ms. Hoover’s bankruptcy case.
      13
                     Response: IH6 objects to this request because it is unnecessarily burdensome and overly
      14
            broad, it requests confidential and proprietary information, and it requests privileged
      15
            communication. Without waiving its objections, see IH6 Production Bates Numbers 001-026.
      16

      17             Request for Production No. 2: Produce all documents that memorialize, document, or

      18    contain communication between you and Sarah Hoover (and/or her agents) up until the date you

      19    filed a motion to reopen Ms. Hoover’s bankruptcy case.
      20             Response: See IH6 Production Bates Numbers 001; 007-014, 025-026.
      21
                     Request for Production No. 3: Produce all documents that memorialize, document, or
      22
            contain communication between you and PHH up until the date you filed a motion to reopen Ms.
      23
            Hoover’s bankruptcy case.
      24

      25             Response:     IH6 objects to this request because it is overly broad, vague as to

      26    “documents”, not reasonably limited in time or subject matter, not reasonably calculated to lead

      27

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            FIRST SET OF INTERROGATORIES AND REQUESTS              575 S. MICHIGAN ST.
                                                                   SEATTLE, WA 98108
            FOR PRODUCTION - 6                                        (206) 275-1010 Pg. 7 of 9
            Case 20-04002-MJH Doc 73-16 Filed 11/13/20 Ent. 11/13/20P 21:51:27
DocuSign Envelope ID: 36C5EA80-B769-4584-9C3D-2308BFFFCBBD




            to discoverable information, and overly burdensome. Without waiving its objections, IH6 is not
       1

       2    aware of any communications with PHH before the date IH6’s motion to reopen was filed.

       3              Request for Production No. 5: Produce all documents that memorialize, document, or

       4    contain communications between you and QLS up until the date you filed a motion to reopen
       5
            Ms. Hoover’s bankruptcy case.
       6
                      Response: All non-privileged communication between IH6 and QLS in this matter has
       7
            been disclosed in QLS’s production of documents; see, QLS response to request for production
       8
            no. 12.
       9

      10              Request for Production No. 6: Produce all documents in your possession regarding the

      11    Property prior to the purchase at the September 13, 2019 foreclosure sale. [In other words,
      12    produce your internal file with respect to the Property as it existed on the morning of September
      13
            13, 2019].
      14
                      Response: IH6 objects to this request because it is vague, unnecessarily burdensome and
      15
            overly broad; it requests confidential and proprietary information; and it requests privileged
      16

      17    communication. Without waiving its objections, please see IH6’s production 001-026.

      18              Request for Production No. 7: Produce all documents regarding your evaluation of the

      19    fair market value of the Property on September 13, 2019.
      20              Response: IH6 objects to this request because it is vague, unnecessarily burdensome and
      21
            overly broad; it requests confidential and proprietary information; and it requests privileged
      22
            communication. IH6 also objects because the Request is not reasonably calculated to lead to the
      23
            discovery of relevant information and is outside the scope of discovery.
      24

      25              Request for Production No. 8:          Produce any liability insurance policy IH6 has for

      26    purchasing properties with title issues at a foreclosure sale.

      27

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            FIRST SET OF INTERROGATORIES AND REQUESTS              575 S. MICHIGAN ST.
                                                                   SEATTLE, WA 98108
            FOR PRODUCTION - 7                                        (206) 275-1010 Pg. 8 of 9
            Case 20-04002-MJH Doc 73-16 Filed 11/13/20 Ent. 11/13/20P 21:51:27
DocuSign Envelope ID: 36C5EA80-B769-4584-9C3D-2308BFFFCBBD




                     Response: IH6 objects to this Request as vague, overly broad, and outside the scope of
       1

       2    discoverable information. Without waiving its objection, IH6 does not currently have a title

       3    insurance policy related to the Property.

       4
                                                        VERIFICATION
       5
                    I, Michael Lappano, am an employee of Invitation Homes, LLC and authorized by
       6    Invitation Homes, LLC and IH6 Property Washington, LP to execute this Verification. I have
            read the foregoing Interrogatories and Requests for Production of Documents and the answers
       7
            and responses thereto and have reviewed the documents produced, know the contents thereof,
       8    and believe the answers to the Interrogatories and responses to the Requests to be true and the
            documents produced complete.
       9
                   I certify under the penalty of perjury under the laws of the State of Washington that the
      10    foregoing is true and correct and that this verification was executed on September _____,
                                                                                                22    2020 at
      11    ____________________, WA.
                  Renton


      12                                                     __________________________________________
                                                             Signature
                                                                          Michael Lappano
      13
                                                             Print Name
      14

      15
                                               CERTIFICATE OF COUNSEL
      16
                    I, John McIntosh, am counsel for Defendant IH6 Property Washington, LP. I certify that
      17    the foregoing Responses to Interrogatories and Requests for Production are made in good faith;
            that there is a factual and/or legal basis for each of them; and that they are not being interposed
      18    for any improper purpose.
      19
                     ANSWERS AND RESPONSES DATED this 22nd day of September 2020.
      20
                                                                         /s/John A. McIntosh______________
      21                                                                 John A. McIntosh, WSBA #43113
      22

      23

      24

      25

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      27

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            FIRST SET OF INTERROGATORIES AND REQUESTS              575 S. MICHIGAN ST.
                                                                   SEATTLE, WA 98108
            FOR PRODUCTION - 8                                        (206) 275-1010 Pg. 9 of 9
            Case 20-04002-MJH Doc 73-16 Filed 11/13/20 Ent. 11/13/20P 21:51:27
